Case 3:05-cv-01165-HWM-HTS Document 17 Filed 05/04/06 Page 1 of 2 PageID 42


                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION




 EL-AMIN BASHIR,


                        Plaintiff,
                                          Case No. 3:05-cv-1165-J-12HTS


 UNITED STATES [OF] AMERICA,


                        Defendant.


                 ORDER OF DISMISSAL WITHOUT PREJUDICE

       On March 9, 2006, the Court ordered Plaintiff, within thirty

 days, to either pay the $250.00 filing fee in this case or file an

 Affidavit of Indigency accompanied by a computer printout or

 account statement of the transactions in his prisoner account.

 Plaintiff failed to respond to the Court's Order.          Therefore, on

 April 13, 2006, the Court ordered Plaintiff to show cause, within

 fifteen days, why this case should not be dismissed for lack of

 prosecution. Further, the Court notified Plaintiff that failure to

 respond to the Court's Order of March            9, 2006, and to show

 satisfactory cause for his initial failure to respond to that Court

 Order would result in the dismissal of this action without further

 notice.   As of the date of this Order, Plaintiff has not responded

 to the Court's Orders.
Case 3:05-cv-01165-HWM-HTS Document 17 Filed 05/04/06 Page 2 of 2 PageID 43



        T h e r e f o r e , i t i s now

        ADJUDGED :

        1.     T h i s c a s e i s h e r e b y DISMISSED w i t h o u t p r e j u d i c e .

        2.     The C l e r k o f t h e C o u r t s h a l l e n t e r j u d g m e n t a c c o r d i n g l y .

        3.     The C l e r k o f t h e C o u r t s h a l l c l o s e t h i s c a s e .

        DONE AND ORDERED a t J a c k s o n v i l l e ,         Florida, t h i s         3 ~ d2a y o f
  May, 2006.



                                                                   fi w.
                                                  UNITED STATES DISTRICT JUDGE



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